       Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 1 of 19




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                          X

ADRIAN JULES,

                            Plaintiff,
                                              20 Civ. 10500 (LGS)
                -against-

ANDRE BALAZS PROPERTIES, et al.,

                            Defendants.
                                          X




MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO CONFIRM
                  THE ARBITRATION AWARD
                              Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 2 of 19




                                                               TABLE OF CONTENTS

I.        Table of Contents




PRELIMINARY STATEMENT .................................................................................................... 1
FACTUAL BACKGROUND AND PROCEDURAL HISTORY ................................................. 1
          1.                     The Arbitration Agreement Between Plaintiff And The Chateau Marmont ............ 1
          2.                     Plaintiff’s Bad Faith Attempt To Amend His Complaint......................................... 2
          3.                     Respondent’s Request for Sanctions ........................................................................ 3
          4.                     Plaintiff’s Failed Attempt To Withdraw From Arbitration Pursuant To
                                 Section 1281.98 And Refusal To Comply With Discovery Orders ......................... 4
          5.                     Plaintiff’s Failure To Present Any Evidence At Arbitration .................................... 7
          6.                     The Final Award ....................................................................................................... 9
LEGAL STANDARD................................................................................................................... 10
ARGUMENT ................................................................................................................................ 11
          1.                     The Final Award Should Be Confirmed................................................................. 11
          2.                     Plaintiff And Mr. Farinella Cannot Establish Any Basis For This Court To
                                 Vacate Or Modify The Final Award ...................................................................... 11
                                  A. The Arbitrator did not exceed his powers by rejecting Plaintiff’s
                                  attempt to withdraw pursuant to Section 1281.98 ................................................ 12
                                  B. The Arbitrator is not guilty of misconduct for denying Plaintiff’s
                                  request to postpone the arbitration hearing ........................................................... 12
                                  C. The Arbitrator did not exceed his powers by issuing sanctions against
                                  Plaintiff and Mr. Farinella..................................................................................... 13
                                  D. There is no conflict of interest between the Arbitrator and Plaintiff’s
                                  mental services provider ....................................................................................... 14
CONCLUSION ............................................................................................................................. 15




                                                                                  i
            Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 3 of 19




                                             TABLE OF AUTHORITIES

                                                                                                                           Page(s)

                                                              Cases

Bak v. MCL Financial Group, Inc.,
   170 Cal.App.4th 1118 (Cal. Ct. App. 2009) ............................................................................14

Bisnoff v. King,
   154 F.Supp.2d 630 (S.D.N.Y. 2001)..................................................................................12, 13

Citigroup, Inc. v. Abu Dhabi Inv. Auth.,
    776 F.3d 126 (2d Cir. 2015).....................................................................................................10

D.H. Blair & Co., Inc. v. Gottdiener,
   462 F.3d 95 (2d Cir. 2006).................................................................................................10, 11

Dekker v. Vivint Solar, Inc.,
   No. 20-16584, 2021 WL 4958856 (9th Cir. 2021) ..................................................................12

Euromarket Designs, Inc. v. McGovern & Co., LLC,
   No. 08 Civ. 7908, 2009 WL 2868725 (S.D.N.Y. Sept. 3, 2009) .............................................13

Landy Michaels Realty Corp. v. Local 32B-32J Serv. Employees Int’l,
   954 F.2d 794 (2d Cir. 1992).....................................................................................................10

Ottawa Office Integration Inc. v. FTF Business Systems, Inc.,
   132 F.Supp.2d 215 (S.D.N.Y. 2001)..................................................................................12, 13

Pacheco v. Beverage Works NY, Inc.,
   No. 14-CV-5763, 2016 WL 8711094 (E.D.N.Y. Sept. 30, 2016) ...........................................10

Polin v. Kellwood Co.,
   103 F.Supp.2d 238 (S.D.N.Y. 2000)........................................................................................14

Rich v. Spartis,
   516 F.3d 75 (2d Cir. 2008).......................................................................................................10

STMicroelectronics, N.V. v. Credit Suisse Sec. (USA) LLC,
   648 F.3d 68 (2d Cir. 2011).......................................................................................................11

Wall Street Assocs., L.P. v. Becker Paribas Inc.,
   27 F.3d 845 (2d Cir. 1994).......................................................................................................10

Wallace v. Buttar,
   378 F.3d 182 (2d Cir. 2004)...............................................................................................10, 12


                                                                  ii
             Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 4 of 19




                                                         Statutes and Codes

United States Code
   Title 9, Section 9 ......................................................................................................................11
   Title 9, Section 10 ..............................................................................................................10, 11
   Title 9, Section 11 ....................................................................................................................11

California Code of Civil Procedure
   Section 1281.98................................................................................................................4, 5, 12

                                                       Rules and Regulations

JAMS Employment Arbitration Rules
  Rule 25 .................................................................................................................................1, 11
  Rule 29 .................................................................................................................................3, 14




                                                                      iii
         Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 5 of 19




                                PRELIMINARY STATEMENT

               Defendants Andre Tomes Balazs, Andre Balazs Properties, Balazs Investors LLC,

and HotelsAB LLC (collectively “Defendants”), and Chateau Holdings, Ltd. (“Respondent” or the

“Chateau Marmont”), by and through their attorneys, respectfully submit this Memorandum of

Law in support of their Motion to Confirm Arbitration Award. As explained in greater detail

below, the parties agreed to final and binding arbitration of the claims asserted in this case; the

arbitration was conducted and an award was issued which resolved all claims in favor of

Respondent; and Defendants and Respondent now seek to confirm the award, have judgment

entered thereon, and to have this case dismissed with prejudice.

               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

               A detailed recitation of the procedural history and findings can be found in the Final

Award. (See Declaration of Alekzandir Morton (“Morton Decl.”), Ex. A, pp. 2-11.) In addition,

relevant portions of the factual and procedural history are included herein.

   1. The Arbitration Agreement Between Plaintiff And The Chateau Marmont

               On May 3, 2017, Plaintiff entered into an arbitration agreement with Respondent.

[Dkt. No. 19, Ex. A.] The arbitration agreement states: “[T]he arbitrator’s award will be final and

binding on both parties.” [Dkt. No. 19, Ex. A.] In addition, Rule 25 of the JAMS Employment

Arbitration Rules (which were incorporated by reference into Plaintiff’s arbitration agreement)

states in relevant part: “The Parties to an Arbitration under these Rules shall be deemed to have

consented that judgment upon the Award may be entered in any court having jurisdiction thereof.”

               Plaintiff filed a Complaint against Defendants (none of whom employed him) in

this Court on December 11, 2020 alleging sixteen causes of action arising from his employment at

the Chateau Marmont. [Dkt. No. 1.] He did not name the Chateau Marmont as a defendant. On

May 28, 2021, after Defendants moved to compel arbitration, this Court issued a stay pending the

                                                 1
         Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 6 of 19




completion of any arbitration pursuant to the arbitration agreement. [Dkt. No. 30.]

   2. Plaintiff’s Bad Faith Attempt To Amend His Complaint

               Plaintiff filed a Demand with JAMS on August 3, 2021. (Morton Decl., Ex. A, p.

2.) A preliminary hearing was held on January 27, 2022 during which Plaintiff agreed to dismiss

Defendants from the arbitration and instead substitute the Chateau Marmont as the sole respondent.

(See Morton Decl., Ex. B.) Following the preliminary hearing, the Arbitrator issued Order No. 2

Re: Report of Preliminary Hearing and Scheduling, in which he set the hearing on the merits to

begin on December 5, 2022. (Id., ¶ 12(a).) He further set the deadline for Respondent to pay

arbitration fees as 60 days in advance of the hearing, i.e. October 6, 2022. (Id., ¶ 14(b).) Plaintiff

never objected to these provisions. (Morton Decl., ¶ 5.)

               On June 14, 2022, Plaintiff requested leave to file a motion to amend his compliant

to add claims against Andre Balazs despite the fact that his initial Complaint contained no

allegations against Mr. Balazs individually and he had already stipulated to dismissal of Mr. Balazs

from the arbitration. (See Morton Decl., Ex. A, pp. 3-4.) Respondent expressed concerns that

Plaintiff was seeking to add Mr. Balazs solely so that he could circumvent California’s “apex

deposition” rule. (Id.) On June 15, 2022, the Arbitrator issued Order No. 5 Re: Claimant’s Request

for Relief, which granted Plaintiff leave to file a motion to amend his complaint limited to (1)

deleting claims that had been dismissed; and (2) adding facts underlying any claim that Plaintiff

can state against Mr. Balazs individually. (See Morton Decl., Ex. C.) However, the Arbitrator

warned: “If it is later established by clear and convincing evidence that Claimant had no good

faith basis for alleging claims against Mr. Balazs, the Arbitrator will entertain a motion from

Respondent to tax costs with respect to these joinder proceedings.”

               On July 12, 2022, Plaintiff filed his motion to amend. (Morton Decl., ¶ 8.) Rather

than comply with Order No. 5, Plaintiff sought leave to: (1) change key details from his prior

                                                  2
           Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 7 of 19




allegations; (2) add six additional entities as respondents (three of which were previously

dismissed); (3) assert allegations against Mr. Balazs that have nothing to do with Plaintiff and of

which Plaintiff had no personal knowledge, most of which were taken from news publications; (4)

add four new causes of action based on purported wage and hour violations that had nothing to do

with Mr. Balazs; and (5) add two causes of action that were previously dismissed by the Arbitrator

without leave to amend. (Morton Decl., ¶ 8.) On August 25, 2022, the Arbitrator issued Order

No. 7 Denying Claimant’s Motion to Amend, in which he found “by clear and convincing evidence

that there was no good faith basis for the proposed amendment.” (Id., p. 4.)

    3. Respondent’s Request for Sanctions

                  Respondent moved to tax costs on August 25, 2022 pursuant to Order No. 5.

(Morton Decl., Ex. A, p. 5.) On September 2, 2022, the Arbitrator issued Order No. 8 Re:

Respondent’s Motion to Tax Costs in which he converted the motion to tax costs into a request for

sanctions pursuant to Rule 29 of the JAMS Employment Arbitration Rules. (See Morton Decl.,

Ex. E.) The Arbitrator requested further briefing from Respondent as to the amount of sanctions

that should be awarded and whether it should be borne by Plaintiff or his counsel or both. He then

gave Plaintiff two weeks to respond to any briefing submitted by Respondent. (See id.)

                  On September 6, 2022, Respondent responded to Order No. 8 and requested

sanctions in the amount of $11,416.50 against Plaintiff and $23,026.50 against Plaintiff’s counsel,

Thomas A. Farinella; these amounts represented the attorneys’ fees incurred by Respondent in

responding to Plaintiff’s motion to amend. (Id.) That same day, Mr. Farinella emailed the Case

Manager and requested a stay of the matter because Plaintiff “recently had emergency surgery due

to a collapsed lung triggered by stress.”1 (Morton Decl., ¶ 13.) On September 8, 2022, the


1
 Plaintiff later submitted medical notes that revealed that the surgery had already taken place and Plaintiff had been
discharged more than two weeks prior to Plaintiff’s request for a stay. (See Morton Decl., Ex. A, p. 5.)

                                                          3
         Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 8 of 19




Arbitrator issued Order No. 9 Re: Claimant’s Request for a Continuance, in which he denied

Plaintiff’s request for a stay and ordered him to meet and confer with Respondent regarding any

extensions of deadlines that were necessary due to his health; if the parties could not agree on any

relief, Plaintiff was ordered to make another request to the Arbitrator. (See Morton Decl., Ex. F.)

Plaintiff was further reminded that his deadline to respond to Respondent’s request for sanctions

was September 20, 2022. (See id.) However, Plaintiff never filed a response.

               Respondent’s counsel then attempted to meet and confer with Mr. Farinella as

ordered by the Arbitrator. (Morton Decl., ¶ 14.) However, Mr. Farinella repeatedly postponed

these meet-and-confer efforts by stating he had not been able to confer with Plaintiff as a result of

Plaintiff’s “medical condition.” (Id.) Despite his purported inability to communicate with

Plaintiff, beginning September 16, 2022, Mr. Farinella (presumably with Plaintiff’s permission)

filed a series of requests and motions seeking to withdraw Plaintiff’s claims from arbitration

pursuant to California Code of Civil Procedure § 1281.98 (“Section 1281.98”).

   4. Plaintiff’s Failed Attempt To Withdraw From Arbitration Pursuant To Section 1281.98
      And Refusal To Comply With Discovery Orders

               On September 16, 2022, Plaintiff filed a letter with the Arbitrator purporting to

withdraw from arbitration pursuant to Section 1281.98 by claiming that Respondent had failed to

timely pay an invoice for hearing fees that had been issued on August 5, 2022 (the “Withdrawal

Letter”). (See Morton Decl., Ex. G.) This letter ignored that JAMS and the Arbitrator had

repeatedly told the parties (even prior to issuing the invoice on August 5) that hearing fees were

due on October 6, 2022, and Plaintiff never objected to those communications or orders despite

having the opportunity to do so. (Morton Decl., ¶ 15.) After submitting the Withdrawal Letter,

Plaintiff and Mr. Farinella refused to meet and confer regarding discovery in the arbitration despite

being ordered by the Arbitrator to do so. (Morton Decl., ¶ 16.) Respondent’s counsel even offered


                                                  4
         Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 9 of 19




to Mr. Farinella to stipulate that it would not argue that Plaintiff waived any right he had to

withdraw pursuant to Section 1281.98 by participating in the ordered meet and confer. (Id.)

               On September 23, 2022, Plaintiff filed a request with this Court to lift the stay of

litigation so that he could proceed with his claims in this Court on the basis that he purportedly

withdrew from arbitration pursuant to Section 1281.98. [See Dkt. No. 43.] On September 26,

2022, this Court ordered Defendants to file a response by September 30, 2022. [See Dkt. No. 44.]

Accordingly, Respondent filed a request with the Arbitrator seeking an expedited ruling regarding

Plaintiff’s attempt to withdraw from arbitration on September 29, 2022. (See Morton Decl., Ex.

H.) In that request, Respondent argued that the arbitration agreement delegates to the Arbitrator

the authority to rule on whether Respondent was in material breach pursuant to Section 1281.98.

(See id.) Respondent further argued that Plaintiff had consented to an extension of time for the

payment of arbitration fees pursuant to Section 1281.98(a)(2). (See id.)

               On September 30, 2022, the Arbitrator issued Order No. 10 Re: Claimant’s Notice

of Withdrawal. (See Morton Decl., Ex. I.) In Order No. 10, the Arbitrator found that the arbitration

agreement, and its incorporation of the JAMS Rules, granted him the jurisdiction to determine

whether Respondent was in material breach of the arbitration agreement. (See id., p. 2.) The

Arbitrator further found that Plaintiff had agreed to an extension for payment of hearing fees to

October 6, 2022, and thus Plaintiff could not withdraw pursuant to Section 1281.98 because

Respondent had not untimely paid fees. (See id., p. 3.) The Arbitrator further observed: “[The

Withdrawal Letter] is entirely consistent with Claimant’s (or his counsel’s) unfortunate, vexatious

conduct in this arbitration, which has only served to impede an orderly and fair hearing of

Claimant’s claims on the merits. . . . If Claimant is consequently unable to discharge his burden of

proof at the appointed time because he has failed to take adequate discovery within the time



                                                 5
        Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 10 of 19




remaining or failed to appear at the Hearing, that will be because of Claimant's own (misguided)

choice to withdraw.” (Id., p. 4.) Defendants filed their response in this Court to Plaintiff’s request

on September 30, 2022 and incorporated the Arbitrator’s ruling from Order No. 10. [Dkt. No. 46.]

               Order No. 10 further ordered Plaintiff to (1) appear for two days of deposition by

no later than October 10, 2022; (2) provide a list of witnesses he intended to depose by no later

than October 7, 2022; and (3) provide a release of medical records pertaining to injuries that he

attributed to Respondent in his Complaint. (Id., pp. 4-5.) But rather than comply with his

discovery obligations in arbitration, Plaintiff sought further relief in this Court. On September 30,

2022, he requested leave to file a reply in support of his request to lift the stay [Dkt. No. 47], which

this Court granted [Dkt. No. 48]. On October 6, 2022, Plaintiff filed his reply. [Dkt. No. 49.]

However, Plaintiff refused to comply with Order No. 10 during this time. (See Morton Decl., ¶

19.) Accordingly, Respondent filed a request for discovery sanctions with the Arbitrator on

October 10, 2022. (Id.) Plaintiff’s deadline to respond was October 17, 2022.

               Plaintiff did not respond to the request for discovery sanctions, but instead made

the decision to file further meritless motions with this Court. On October 11, 2022, Plaintiff filed

a motion for injunctive relief with this Court seeking an order enjoining Respondent and JAMS

from proceeding with the arbitration. [Dkt. No. 50.] On October 12, 2022, this Court denied

Plaintiff’s motion to lift the stay and motion for injunctive relief. [Dkt. No. 52.] Specifically, the

Court found that the arbitration agreement delegated to the Arbitrator—rather than this Court—

the authority to determine whether a party breached the arbitration agreement. [Dkt. No. 52.]

               Plaintiff declined to file any response to Respondent’s request for discovery

sanctions. (Morton Decl., ¶ 19.) Accordingly, the Arbitrator scheduled a telephonic conference

on October 19, 2022 in order to discuss the discovery sanctions requested by Respondent. (See



                                                   6
         Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 11 of 19




Morton Decl., Ex. J.) During this telephonic conference, and at Plaintiff’s request, the Arbitrator

gave Plaintiff another opportunity to respond by October 26, 2022. (See id.) The Arbitrator further

ordered Plaintiff to meet and confer with Respondent regarding the discovery disputes. (See id.)

                 Plaintiff chose not to respond to the request for discovery sanctions or meet and

confer with Respondent. (Morton Decl., ¶ 20.) He did, however, file a motion for reconsideration

on October 25, 2022 in this Court. [Dkt. No. 55.] Defendants opposed the motion on October 27,

2022 [Dkt. No. 56], and this Court denied it that same day [Dkt. No. 57]. Because Plaintiff once

again failed to comply with his discovery obligations, the Arbitrator issued Order No. 13 Granting

in Part, and Denying in Part, Respondent’s Preclusion Requests on October 28, 2022, in which the

Arbitrator issued certain discovery sanctions against Plaintiff. (See Morton Decl., Ex. K.)

    5. Plaintiff’s Failure To Present Any Evidence At Arbitration

                 Pursuant to an order from the Arbitrator, Respondent scheduled Plaintiff’s

deposition to take place for two days starting on November 29, 2022. (Morton Decl., ¶ 21.)

However, on the morning of November 29, 2022, Mr. Farinella contacted counsel for Respondent

and stated: “I have just been informed that my client is in the hospital.”2 (Id.) Mr. Farinella then

canceled the scheduled deposition. (Id.) Telephonic conferences were held with the Arbitrator on

November 30 and December 1, 2022, during which Plaintiff’s counsel for the first time stated he

did not believe that Plaintiff was medically fit to testify or attend the arbitration hearing. (See

Morton Decl., Ex. A, p. 9.) However, Mr. Farinella failed to provide sufficient documentation

from a medical provider to support this claim. (Id.) Accordingly, the Arbitrator issued Order No.

18 requiring Plaintiff to submit sufficient medical documentation by December 2, 2022 such that

the Arbitrator could determine whether the assertions about Plaintiff’s medical condition were


2
 Documents subsequently provided by Plaintiff establish that he had been discharged from the hospital more than
an hour prior to Mr. Farinella making this statement to Respondent’s counsel. (See Morton Decl., Ex. A, p. 12.)

                                                        7
          Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 12 of 19




credible or serious enough to warrant postponing the arbitration hearing. (Id.)

                  On December 2, Mr. Farinella submitted eighteen pages of documentation to the

Arbitrator. (Id.) However, the Arbitrator found this documentation to be insufficient to establish

that a postponement of the long-scheduled arbitration hearing was warranted. (Id.) A detailed

analysis of these documents can be found in the Final Award. (See id., pp. 9-13.) Nevertheless,

and in yet another attempt to give Plaintiff another opportunity to respond, the Arbitrator ordered

Plaintiff to appear via Zoom for a special hearing on the morning of December 5 so that Plaintiff

could testify as to his medical condition and the need for a postponement. (Id., p. 10.)

                  Plaintiff failed to appear for the special hearing on December 5. Instead, Mr.

Farinella appeared and informed the Arbitrator that Plaintiff was hospitalized; however, Mr.

Farinella later revealed that Plaintiff admitted himself to the hospital within hours of being directed

to appear at the hearing, had been discharged from the hospital on December 4, with medical notes

suggested that Plaintiff was not suffering from a serious health problem. (See Morton Decl., Ex.

L.) Following Plaintiff’s failure to appear at the special hearing and disclosure of hospital records,

the Arbitrator issued Order No. 20 Re: Special Hearing, in which he found that Plaintiff had failed

to establish good cause to postpone the arbitration hearing. (Id.) He further ordered that the

arbitration hearing would commence that same day as previously scheduled. (Id.)3

                  Respondent’s counsel and Mr. Farinella appeared at the arbitration hearing;

Plaintiff did not. (Morton Decl., Ex. A, p. 10.) Respondent’s former General Manager, who had

been designated as Plaintiff's first witness, was available and ready to be questioned. When asked

to proceed with his opening statement, Mr. Farinella stated he could not do so because Plaintiff

was not in attendance. (Id.) The Arbitrator then asked Mr. Farinella if he had provided Plaintiff


3
 Despite repeated discovery orders, Plaintiff never appeared at deposition. The Arbitrator ruled that this alone
would not result in an order precluding Plaintiff from testifying at the Arbitration. Cite

                                                          8
         Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 13 of 19




with the Zoom dial-in information, to which Mr. Farinella responded he had not. (Id.) After an

adjournment so that Mr. Farinella could send the dial-in information, Plaintiff briefly appeared via

Zoom. (Id..) Plaintiff “did not appear unwell or unable to communicate.” (Id., p. 15.) The

Arbitrator then asked Mr. Farinella to proceed with opening statements; Mr. Farinella refused to

do so.   (Id., p. 10.) The Arbitrator also suggested that Mr. Farinella begin with his cross

examination of Respondent’s former General Manager, who was designated as his first witness in

pre-hearing filings, but Mr. Farinella refused to do so. (Morton Decl., ¶ 24.) The Arbitrator then

adjourned the arbitration hearing after announcing that he would be finding in favor of Respondent

on all causes of action because Plaintiff failed to discharge his burden of proof.

   6. The Final Award

               The Arbitrator issued the Final Award on January 17, 2023 after providing the

parties to submit any clerical corrections to an Interim Award that had been issued on December

19, 2023. (See Morton Decl., Ex. A.) The Arbitrator made multiple factual findings in the Final

Award relevant to this Motion, including: (1) Plaintiff was not suffering from any medical

condition serious enough to warrant postponing the arbitration hearing; (2) Plaintiff’s and Mr.

Farinella’s reasons for refusing to commence the hearing were unjustified and not credible; and

(3) Plaintiff failed entirely to discharge his burden of proof because he did not submit any evidence

whatsoever to support his claims. (Id.) The Arbitrator found for Respondent on all causes of

action, and he further awarded sanctions against Plaintiff in the amount of $11,416.50 and against

Mr. Farinella in the amount of $23,026.50. (Id., p. 19.) In granting these sanctions, the Arbitrator

observed: “[T]he extent of vexatious conduct by [Plaintiff] and his counsel in this case is beyond

unusual—it exceeds that found in any of the hundreds of other cases to which I have been

appointed as an arbitrator.” (Id., p. 18.)



                                                  9
        Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 14 of 19




                                      LEGAL STANDARD

               “Arbitration awards are subject to very limited review in order to avoid

undermining the twin goals of arbitration, namely, settling disputes efficiently and avoiding long

and expensive litigation.” Rich v. Spartis, 516 F.3d 75, 81 (2d Cir. 2008). The Federal Arbitration

Act (FAA) creates a “strong presumption in favor of enforcing arbitration awards” and courts have

an “extremely limited” role in reviewing such awards. Wall Street Assocs., L.P. v. Becker Paribas

Inc., 27 F.3d 845, 849 (2d Cir. 1994). “[A]n arbitration award should be enforced, despite a court’s

disagreement with it on the merits, if there is a barely colorable justification for the outcome

reached.” Landy Michaels Realty Corp. v. Local 32B-32J Serv. Employees Int’l, 954 F.2d 794,

797 (2d Cir. 1992). “The Court may not disturb the Arbitrator’s credibility or factual findings,

even when it may disagree with the credibility determination, because it may not reassess the

evidentiary record.” Pacheco v. Beverage Works NY, Inc., No. 14-CV-5763, 2016 WL 8711094,

at *5 (E.D.N.Y. Sept. 30, 2016) (citing Wallace v. Buttar, 378 F.3d 182, 193 (2d Cir. 2004)).

               Ordinarily, confirmation of an arbitration award is “a summary proceeding that

merely makes what is already a final arbitration award a judgment of the court.” Citigroup, Inc.

v. Abu Dhabi Inv. Auth., 776 F.3d 126, 132 (2d Cir. 2015). The Court “must grant [a request to

confirm a decision] unless the award is vacated, modified, or correct.” D.H. Blair & Co., Inc. v.

Gottdiener, 462 F.3d 95, 110 (2d Cir. 2006 (quoting 9 U.S.C. § 9)).

               The FAA provides that an arbitration award may be vacated in only four instances:

“(1) where the award was procured by corruption, fraud, or undue means; (2) where there was

evident partiality or corruption in the arbitrators …; (3) where the arbitrators were guilty of

misconduct in refusing to postpone the hearing, upon sufficient cause shown …; or (4) where the

arbitrators exceeded their powers, or so imperfectly executed them that a mutual, final, and definite



                                                 10
        Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 15 of 19




award upon the subject matter submitted was not made.” 9 U.S.C. § 10(a). The party seeking to

“vacate an arbitration award has the burden of proof, and the showing required to avoid

confirmation is very high.” STMicroelectronics, N.V. v. Credit Suisse Sec. (USA) LLC, 648 F.3d

68, 74 (2d Cir. 2011).

                                          ARGUMENT

   1. The Final Award Should Be Confirmed

               Under the FAA, the Court must issue an order confirming an arbitration award upon

a party’s timely request unless the Court orders that the award be vacated, modified, or corrected.

9 U.S.C. § 9; D.H. Blair & Co., Inc., 462 F.3d at 110. In addition, Rule 25 of the JAMS

Employment Arbitration Rules (which were incorporated by reference into Plaintiff’s arbitration

agreement) states in relevant part: “The Parties to an Arbitration under these Rules shall be deemed

to have consented that judgment upon the Award may be entered in any court having jurisdiction

thereof.” Here, the Arbitrator entered a Final Award on January 17, 2023 finding for Respondent

on all causes of action and issuing sanctions against Plaintiff and Mr. Farinella. As explained

below, Plaintiff and Mr. Farinella cannot establish any basis for this Court to vacate or modify the

Final Award. Accordingly, the Final Award should be confirmed.

   2. Plaintiff And Mr. Farinella Cannot Establish Any Basis For This Court To Vacate Or
      Modify The Final Award

               The FAA provides narrow grounds on which an award can be modified or vacated.

See 9 U.S.C. §§ 10, 11. Plaintiff and Mr. Farinella have the burden of proof to vacate or modify

the award, and the showing required is “very high.” STMicroelectronics, N.V., 648 F.3d at 74.

While Plaintiff and Mr. Farinella have not yet filed a motion to vacate the Final Award, they have

signaled various grounds on which they intend to base that motion. However, they cannot meet

their “very high” burden.


                                                 11
        Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 16 of 19




               A.      The Arbitrator did not exceed his powers by rejecting Plaintiff’s attempt to
                       withdraw pursuant to Section 1281.98

               Defendants anticipate that Plaintiff will attempt to vacate the Final Award on the

purported basis that the Arbitrator exceeded his powers by determining that Respondent was not

in material breach of the arbitration agreement pursuant to Section 1281.98. This issue has

previously been extensively briefed by the parties, and this Court has rejected Plaintiff’s argument

twice. [Dkt. No. 52; Dkt. No. 57.] There is no reason to revisit those decisions now.

               Specifically, this Court has already found that “the Arbitrator has jurisdiction over

Defendant’s alleged breach of the parties’ agreement” because the arbitration agreement delegates

that authority to the Arbitrator. [See Dkt. No. 52 (citing Dekker v. Vivint Solar, Inc., No. 20-16584,

2021 WL 4958856, at *1 (9th Cir. 2021)).] As explained in Order No. 10, the Arbitrator made a

factual determination that Plaintiff consented to having hearing fees due on October 6; thus,

Respondent was not untimely in paying those fees. (Morton Decl., Ex. I, p. 3.) Because this was

a factual finding by the Arbitrator, this Court cannot disturb it on review. See Wallace, 378 F.3d

at 193. Accordingly, the Final Award is not subject to vacatur on this ground.

               B.      The Arbitrator is not guilty of misconduct for denying Plaintiff’s request to
                       postpone the arbitration hearing

               Defendants anticipate that Plaintiff will attempt to vacate the Final Award on the

purported basis that the Arbitrator is guilty of misconduct in denying Plaintiff’s request to postpone

the arbitration hearing. “Misconduct typically arises where there is proof of either bad faith or

gross error on the part of the arbitrator.” Ottawa Office Integration Inc. v. FTF Business Systems,

Inc., 132 F.Supp.2d 215, 220 (S.D.N.Y. 2001). “In evaluating an arbitrator’s decision to deny a

postponement, courts consider whether there existed a reasonable basis for the arbitrator’s decision

and whether the denial created a ‘fundamentally unfair’ proceeding.” Bisnoff v. King, 154

F.Supp.2d 630, 637 (S.D.N.Y. 2001). Courts in this District have routinely confirmed arbitral

                                                  12
        Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 17 of 19




awards where the arbitrator had a “reasonable basis” to deny a postponement request by a party

who purported to have a medical emergency. See, e.g., Ottawa Office Integration Inc., 132

F.Supp.2d at 220 (finding that “arbitrator had good reason to require credible medical evidence

before granting another adjournment requested one day before the hearing”); Bisnoff, 154

F.Supp.2d at 638 (“[T]he arbitrators considered the stated reasons for Petitioner’s adjournment

request but came to an uncomplimentary assessment of his credibility and offered a reasonable

justification for their decision. . . . This Court is not empowered to second guess the arbitrators’

assessment of credibility.”); Euromarket Designs, Inc. v. McGovern & Co., LLC, No. 08 Civ. 7908,

2009 WL 2868725, at *6 (S.D.N.Y. Sept. 3, 2009) (finding arbitrator had reasonable basis to deny

postponement request where it was made on the eve of a hearing after the Respondent had failed

to comply with discovery and several days after the purported onset of the medical issue).

               Here, the Arbitrator permitted Plaintiff to submit medical documentation to

substantiate his stated need to postpone the hearing. The Arbitrator carefully considered this

documentation, and he determined that Plaintiff’s purported need for a postponement was not

credible. (See Morton Decl., Ex. A, pp. 9-13.) The Arbitrator also permitted Plaintiff to appear at

a special hearing so that he may testify as to any reason why a postponement was warranted;

Plaintiff declined to appear for that special hearing. (See Morton Decl., Ex. L.) Because the

Arbitrator made a reasonable credibility determination based on a review of the documentation

provided by Plaintiff, this Court cannot “second guess” that determination. See Bisnoff, 154

F.Supp.2d at 638. Accordingly, the Final Award is not subject to vacatur on this ground.

               C.      The Arbitrator did not exceed his powers by issuing sanctions against
                       Plaintiff and Mr. Farinella

               Defendants anticipate that Plaintiff and Mr. Farinella will attempt to vacate the

Final Award on the purported basis that the Arbitrator exceeded his powers by issuing sanctions


                                                 13
        Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 18 of 19




against Plaintiff and Mr. Farinella. Rule 29 of the JAMS Employment Arbitration Rules grants

the Arbitrator broad authority to issue sanctions, including reasonable attorneys’ fees, due to a

party’s failure to comply with the Rules or an order. Language such as this has been held to include

the authority to “grant any remedy that would have been available under a court’s inherent power,”

including sanctioning an attorney. See Polin v. Kellwood Co., 103 F.Supp.2d 238, 264-65

(S.D.N.Y. 2000) (confirming arbitration award that included sanctions against attorney); see also

Bak v. MCL Financial Group, Inc., 170 Cal.App.4th 1118, 1126 (Cal. Ct. App. 2009).

               As set forth in the Final Award, Plaintiff and Mr. Farinella explicitly disobeyed

Order No. 5 such that it resulted in Respondent incurring $34,443 in attorneys’ fees responding to

Plaintiff’s bad-faith motion to amend. (Morton Decl., Ex. A, pp. 17-18.) The Arbitrator found

this amount to be a reasonable sanction for Plaintiff’s and Mr. Farinella’s vexatious conduct. (Id.)

Further, Plaintiff and Mr. Farinella chose not to file any response to Respondent’s sanctions

request, despite requesting and receiving an extension to do so. (Id.) Because the Arbitrator had

authority to issue sanctions, and there is more than a “colorable justification” for the decision he

reached, the Final Award is not subject to vacatur on this ground.

               D.      There is no conflict of interest between the Arbitrator and Plaintiff’s
                       mental services provider

               Defendants anticipate that Plaintiff will attempt to vacate the Final Award on the

purported basis that a conflict of interest existed between the Arbitrator and Plaintiff’s telehealth

mental services provider, Cerebral. On January 9, 2023, Mr. Farinella submitted a letter to JAMS

objecting that there was a “conflict of interest” because Cerebral—which is not a party to these

proceedings—had a “business relationship” with JAMS. (See Morton Decl., Ex. M.) It is not clear

what precisely was Plaintiff’s objection. On February 16, 2023, JAMS responded and confirmed:

(1) Cerebral had unilaterally listed JAMS as the arbitral forum in its arbitration agreement without


                                                 14
        Case 1:20-cv-10500-LGS Document 95 Filed 03/24/23 Page 19 of 19




first seeking permission from JAMS; (2) Cerebral was not a party, lawyer, or law firm in the

matter, and thus disclosures related to Cerebral were not required; and (3) the Arbitrator had no

prior or pending matters with Cerebral, and thus had nothing to disclose. (Morton Decl., Ex. N.)

Accordingly, the Final Award is not subject to vacatur on this basis.

                                         CONCLUSION

               For the foregoing reasons, the Court should grant Defendant’s motion to confirm

the arbitration award, and dismiss this action in its entirety, with prejudice, with costs, fees, and

disbursements to Defendant, together with such other and further relief as the Court deems just

and proper.

                                              Respectfully submitted,

Dated: March 24, 2023                 By:     /s/ Paula M. Weber
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                                                 15
